        Case 18-50214-rlj11 Doc 58 Filed 08/10/18              Entered 08/10/18 11:22:55          Page 1 of 1




 The following constitutes the ruling of the court and has the force and effect therein described.



  Signed August 9, 2018
                                             United States Bankruptcy Judge
 ______________________________________________________________________



BTXN 104b/105b (rev. 09/11)
                                    UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF TEXAS


In Re:                                                     §
Reagor−Dykes Motors, LP                                    §    Case No.: 18−50214−rlj11
Reagor−Dykes Floydada, LP                                  §    Chapter No.: 11
                                        Debtor(s)          §


                              ORDER FOR ADMISSION PRO HAC VICE
      The Court, having considered the Application for Admission Pro Hac Vice of Mark S. Carder, to represent
First Bank & Trust, related to document no. 35, ORDERS this application be:

    Granted − The Clerk of the District Court for the Northern District of Texas shall deposit the application fee to
the account of the Non−Appropriated Fund.

    Denied − The Clerk of the District Court for the Northern District of Texas shall return the admission fee to the
applicant.

                                               # # # End of Order # # #
